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The following constitutes the ruling of the court and has the force and effect therein described.



Signed December 18, 2023
                                           United States Bankruptcy Judge
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

      In re:                                          §
                                                      §        Case No. 22-31641-mvl-7
      GOODMAN NETWORKS, INC.,                         §
                                                      §        (Chapter 7)
               Debtor.                                §
                                                      §
                                                      §
      SCOTT M. SEIDEL, TRUSTEE,                       §
                                                      §
               Plaintiff,                             §      ADVERSARY PROCEEDING
                                                      §      NO: 23-03091
      v.                                              §
                                                      §
      FEDEX SUPPLY CHAIN LOGISTICS                    §
      & ELECTRONICS, INC.,                            §
                                                      §
               Defendant.                             §

                            AGREED ALTERNATIVE SCHEDULING ORDER

               The Court directs compliance with the following schedule in connection with the above-

      styled Adversary Proceeding (the “Adversary”) between Scott M. Seidel, Truste (the “Plaintiff” or



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“Trustee”) and FedEx Supply Chain Logistics & Electronics, Inc. (the “Defendant”, and

collectively with the Plaintiff/Trustee, the “Parties”):

No later than January 23, 2024         The Parties and their counsel shall schedule a mediation of
                                       this Adversary as soon as practicable, and thereafter
                                       participate in such mediation in good faith toward resolution.


No later than January 10, 2024         Deadline for Defendant to file and serve (i) either a motion
                                       or an answer to the Trustee’s Original Complaint [Adv. Dkt.
                                       No. 1] (the “Answer”); and (ii) a response to the Trustee’s
                                       Motion for Preliminary Injunction [Adv. Dkt. No. 4] with an
                                       accompanying memorandum of law in support of such
                                       response (collectively, the “Response”, and together with the
                                       Answer, the “Responsive Pleadings”), shall be the earlier of:
                                       (1) seven (7) days following the conclusion of the mediation
                                       as ordered herein, and (2) Wednesday, January 10, 2024.


No later than January 24, 2024         Deadline for Plaintiff to file and serve replies or other
                                       responses to the Defendant’s Responsive Pleadings shall be
                                       fourteen (14) days following Defendant's filing and service
                                       of any such Responsive Pleadings.


February 9, 2024                       Deadline for completion of all fact discovery. Due to the
                                       expedited nature of this Adversary and Trial (as defined
                                       below), the responding party shall serve its answers and any
                                       objections within fourteen (14) days after being served with
                                       discovery requests (i.e. interrogatories, requests for
                                       production, requests for admissions, etc.).


February 14, 2024                      Deadline for the Parties to (i) exchange all exhibits, except
                                       for impeachment documents, along with a list of witnesses
                                       to be called; and (ii) file a list of exhibits and witnesses. Each
                                       exhibit shall be marked with an exhibit label.
                                       All exhibits not objected to in writing by the Trial shall be
                                       admitted into evidence at trial without further proof, except
                                       for objections to relevance. Written objections to exhibits



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                                         will be taken up either at the beginning or during the course
                                         of the actual trial.


February 14, 2024                        Deadline for all dispositive motions to be heard.


February 21, 2024                        Deadline for the Parties to file, serve, and upload for the
                                         Court a Joint Pretrial Order in compliance with Local
                                         District Court Rule 16.4. All counsel (or a pro se party) are
                                         responsible for preparing the Joint Pretrial Order, which
                                         shall contain the following: (a) a summary of the claims and
                                         defenses of each party; (b) a statement of stipulated facts; (c)
                                         a list of the contested issues of fact; (d) a list of contested
                                         issues of law; (e) an estimate of the length of trial; (f) a list
                                         of additional matters which would aid in the disposition of
                                         the case; and (g) the signature of each attorney (or pro se
                                         party).


February 21, 2024                        Deadline for Plaintiff and Defendant to each file their
                                         respective written Proposed Findings of Fact and
                                         Conclusions of Law.


February 21, 2024                        Deadline for Plaintiff and Defendant to each file their
                                         respective trial briefs addressing contested issues of law.


February 28, 2024 at 9:30 a.m.           Trial before Honorable Michelle V. Larson at Courtroom #2,
                                         14th Floor, 1100 Commerce Street, Dallas, Texas (the
                                         “Trial”).

         All parties and counsel must certify to full compliance with this Order at Trial. If a resetting

is allowed by the Court, the Plaintiff or Plaintiff’s attorney shall notify all other parties and shall

file with the Clerk a certificate of service indicating the manner, date, and to whom notice was

given.

         If the case is reset, all the deadlines will be shifted to the newly scheduled Trial date in the




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absence of a contrary Court order.

       Sanctions may be imposed for failure to comply with this Order.



                                     ### END OF ORDER ###



AGREED:

 QUILLING, SELANDER, LOWNDS,                   BUTLER SNOW LLP
   WINSLETT & MOSER, P.C.

 By: /s/ Michael J. Quilling            -      By: /s/ Daniel W. Van Horn
    Michael J. Quilling                           DANIEL W. VAN HORN
    Texas Bar No. 16432300                        Pro Hac Admitted
    mquilling@qslwm.com                           Danny.VanHorn@butlersnow.com
    Joshua L. Shepherd                            ADAM M. LANGLEY
    Texas Bar No. 24058104                        Pro Hac Admitted
    jshepherd@qslwm.com
                                                  Adam.Langley@butlersnow.com
 2001 Bryan Street, Suite 1800
                                               6075 Poplar Ave., Ste. 500
 Dallas, Texas 75201
 (214) 871-2100 (Telephone)                    Memphis, TN 38119
 (214) 871-2111 (Facsimile)                    (901) 680-7200 (Telephone)
                                               (901) 680-7201 (Facsimile)

 PROPOSED SPECIAL COUNSEL                         MARTIN A. SOSLAND
 FOR THE PLAINTIFF                                Texas Bar No. 18855645
                                                  martin.sosland@butlersnow.com
                                               2911 Turtle Creek, Suite 1400
                                               Dallas, TX 75219
                                               (469) 680-5502 (Telephone)
                                               (469) 680-5501 (Facsimile)

                                               COUNSEL FOR DEFENDANT




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